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                            UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION


IN RE BROILER CHICKEN ANTITRUST                        Case No. 1:16-cv-08637
LITIGATION
This Document Relates To:
                                                       The Honorable Thomas M. Durkin
Associated Grocers of the South, Inc., et al. v.       Magistrate Judge Jeffrey T. Gilbert
Tyson Foods, Inc., et al. (Case No. 1:18-cv-
4616)



             AGS PLAINTIFFS’ NOTICE OF MOTION FOR LEAVE
   TO FILE UNDER SEAL PORTIONS OF EXHIBITS 1 AND 2 TO THEIR MOTION
     FOR LEAVE TO FILE INSTANTER THEIR FIRST AMENDED COMPLAINT

       PLEASE TAKE NOTICE that on April 23, 2019 at 9:00 a.m., or as soon as counsel may

be heard, Plaintiffs Associated Grocers of the South, Inc., Meijer, Inc., Meijer Distribution, Inc.,

OSI Restaurant Partners, LLC, Publix Super Markets, Inc., SuperValu Inc., Unified Grocers, Inc.,

Associated Grocers of Florida, Inc., and Wakefern Food Corporation (collectively, “Plaintiffs”),

by their undersigned counsel, shall appear before the Honorable Judge Thomas M. Durkin, or any

judge sitting in his stead in the courtroom usually occupied by his Honor in Courtroom 1441 of

the United States District Court for the Northern District of Illinois, Eastern Division, 219 South

Dearborn Street, Chicago, Illinois, and shall then and there present Plaintiffs’ Motion for Leave to

File Under Seal Portions of Exhibits 1 and 2 to their Motion for Leave to File Instanter Their First

Amended Complaint, a copy of which is hereby served upon you.




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Dated: April 15, 2019                          Respectfully submitted,

                                     By:       /s/ David P. Germaine
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                                               Counsel for Associated Grocers of the South,
                                               Inc., Meijer, Inc., Meijer Distribution, Inc.,
                                               OSI Restaurant Partners, LLC, Publix Super
                                               Markets, Inc., Supervalu Inc.; Unified
                                               Grocers, Inc.; Associated Grocers of Florida,
                                               Inc.; and Wakefern Food Corp.




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                                CERTIFICATE OF SERVICE

       I hereby certify that on April 15, 2019, I caused a copy of the foregoing document to be

served on all counsel of record via the CM/ECF system of the Northern District of Illinois.


Dated: April 15, 2019

                                                    /s/ David P. Germaine




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